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IN THE UNITED STATES DISTRICT COURT ae
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

WILLIAM R. HAMPE, by and through his )
mother and guardian Jill Hampe, RICHARD _)
L. WINFREY III, ADAM CALE, OLIVIA )
WELTER, by and through her parents and _+)
guardians John and Tamara Welter, PHILLIP )
BARRON, by and through his mother and )
guardian Barbara Baron, JESSICA L. LYTLE, )
by and through her mother and guardian )
Judith Lytle, JACOB STRACKA, by and )
through his parents and guardians David )
and Nicole Stracka, CHARLES STOUT, )
individually and on a behalf of a class, )
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Plaintiffs
No. 10 C 3121

The Honorable William J. Hibbler
JULIE HAMOS, in her official capacity
as Director of the Illinois Department of

Healthcare and Family Services,

Defendant.

MEMORANDUM OPINION AND ORDER

The Plaintiffs in this case are medically fragile disabled persons who receive funding from the
Illinois Department of Healthcare and Family Services (DHFS or Defendant) under its Medically
Fragile/Technology Dependent (MF/TD) Program. The DHFS restricts enrollment in the MF/TD
Program to persons under the age of 21, and according to the Plaintiffs, when they age out of the
program they transition into a different program that provides substantially less funding. The Plaintiffs
allege that without the funding provided by the MF/TD Program, they will have to be institutionalized
or hospitalized to provide for their medical needs. The Plaintiffs claim that Defendant’s policy violates

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Title II of the Ameicans with Disabilities Act, 42 U.S.C. § 12132, and the Rehabilitation Act, 29 USS.C.
§ 794. Plaintiffs seek to certify a class of persons similarly situated to themselves to pursue their claims.
I. Background

Medicaid provides medical assistance to both to disabled individuals and to families with
dependent children whose income and resources are otherwise insufficient to pay for the cost of the
medical care that they require, and is jointly funded by both the federal government and the states that
choose to participate. 42 U.S.C. § 1396; 305 ILCS 5/5-1. States that participate in the Medicaid
program must submit a plan outlining the services it will provide in its Medicaid program to the United
States Secretary of Health and Human Services (HHS). 42 U.S.C. § 1396a. In addition to the services
provided for under their Medicaid plans, states may request HHS approval to provide home and
community-based services (HCB) to individuals who would otherwise require institutional care. The
Secretary has the authority to waive certain Medicaid requirements in order for states to offer such
services. 42 U.S.C. § 1396n(b)-(h); 42 C.F.R. § 430.25(d). Specifically, the Secretary may issue
waivers to allow a state to provide HCB services only to individuals who would otherwise require
institutionalization (rather than to every citizen who is eligible for Medicaid), provided that the average
cost per-person of services offered under the waiver authority is cost-neutral (i.e., the average cost of
HCB services does not exceed the cost of providing care in an institution). 42 U.S.C.§§ 1396n(c)(1),
1396n(c)(2)(d); 42 C.F.R. § 441.302(e).

Illinois has sought and received a waiver for its Medically Fragile/Technology Dependent
Children Program, which provides HCB services and medical equipment to children who would
otherwise require institutional care. 89 Ill. Admin. Code § 120.530. Among other requirements, the

ME/TD Program requires a determination that recipients would require the level of care provided by a

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hospital or skilled nursing facility unless they received HCB services. 89 Ill. Admin Code § 120.530(b).
The ME/TD Program provides funding only for persons who are under 21 years of age. 89 Ill. Admin.
Code § 120.530(a). After reaching the age of 21, individuals in the MF/TD Program transition to
another Medicaid waiver program, the Home Services Program (HSP). 89 Ill. Admin. Code § 676.10.
The HSP, however, contains funding caps that restrict the amount of assistance individuals can receive.
89 Ill. Admin. Code § 679.50.

One of the named Plaintiffs, William Hampe, has been diagnosed with reactive airway disease,
cerebral palsy, intractable epilepsy, developmental delay, and microcephaly. He requires a ventilatory
support system, frequent suctioning of his tracheostomy, and receives his nutrition from a j-tube.
Hampe currently receives funding for 16 hours a day of skilled nursing care in his home under the
ME/TD Program. Hampe’s physician states that without medical home care, Hampe would require
inpatient hospitalization, which would separate and isolate him from his mother and community.’ As
Hampe approached his 21st birthday, the Defendant notified him that he would transition to the HSP
and would be eligible for $9,429 per month for medical care in his home, under the Program’s
“exceptional care rate.” This funding would allow Hampe to receive approximately one-half the amount
of skilled nursing care that he currently receives.

The ADA prohibits discrimination against disabled persons by public entities. 42 U.S.C.
§ 12132. The regulations implementing the ADA provide that public entities “shall administer services,
programs, and activities in the most integrated setting appropriate to the needs of qualified individuals

with disabilities.” 28 C.F.R. § 35.130(d). The Rehabilitation Act contains similar anti-discrimination

' Allegedly, hospitalization would also cost approximately three times as much as the in-
home skilled nursing care that Hampe currently receives.

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and integration provisions. 29 U.S.C. § 794(a) & 28 C.F.R. § 41 .51(d). The Supreme Court has held
that these regulations prohibit the “unjustified institutional isolation” of disabled individuals. Olmstead
v. L.C., 527 US. 581, 599-601, 119 S.Ct. 2176, 144 L-Ed.2d 540 (1999). In Olmstead, the Supreme
Court held that public entities must provide community based treatment to qualified individuals with
disabilities, provided that the placement can be reasonably accommodated. Olmstead, 527 U.S. at 607;
see also 28 C.F.R. § 35.130(b)(7) (allowing states to resist modifications that entail a fundamental
alteration of the States’ services and programs). The Plaintiffs’ claims flow from the Supreme Court’s
holding in Olmstead.
II. Class Certification Standard

In order to certify a class action, a court must first find that each element of Fed. R. Civ. P. 23(a)
——numerosity, commonality, typicality, and adequacy of representation — is satisfied. Fed. R. Civ. P.
23(a); Siegel v. Shell Oil Co., 612 F.3d 932, 935 (7th Cir. 2010); Harper v. Sheriff of Cook Cnty, 581
F.3d 511, 513 (7th Cir. 2009). Once a court finds that the requirements of Rule 23(a) are met, the court
must also find that the putative class meets one of the three categories of class actions set forth in Fed.
R. Civ. P. 23(b); Siegel, 612 F.3d at 935; Harper, 581 F.3d at 513. In this case, the Plaintiffs pursue
declaratory and injunctive relief and seek certification under Rule 23(b)(2), which permits certification
if the defendant has “acted or refused to act on grounds generally applicable to the class, thereby making
appropriate final injunctive relief or corresponding declaratory relief with respect to the class as a whole.
Fed. R. Civ. P. 23(b)(2); see also Arreola v. Godinez, 546 F.3d 788, 797-99 (7th Cir. 2008); Rahman
v. Chertoff, 530 F.3d 622, 626 (7th Cir. 2008); Allen v. Int'l Truck and Engine Corp., 358 F.3d 469, 470
(7th Cir. 2004).

I. Analysis

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A. Numerosity

Rule 23(a)(1) requires that the proposed class be so numerous that joinder of all persons is
impracticable. Fed. R. Civ. P. 23(a)(1). There is no threshold at which joinder becomes per se
impracticable. George v. Kraft Foods Global, Inc., No. 08 C 3799, 2010 WL 3386402, at *7 (N.D. Il.
Aug. 25, 2010). Generally, a class of forty plaintiffs is sufficiently numerous for Rule 23(a) purposes.
Id.; Swanson v. Am. Consumer Indus., 415 F.2d 1326, 1333 (7th Cir. 1969).

The Plaintiffs point to a December 2009 DHFS report that indicates that 504 individuals were
enrolled in the MF/TD Program as of September 1, 2009 and 606 individuals received services between
July 1, 2007 and June 30, 2008. The report further indicates that 37 individuals aged out of the MF/TD
Program between July 2007 and December 2009. The Plaintiffs also point to an affidavit of a DHFS
official stating that 34 cases of 18 to 20 year old individuals received services pursuant to the MF/TD
Program as of October 2005.’ Given that the Plaintiffs have put forward evidence to suggest that at two
recent points in time, 34-37 individuals would age out of the MF/TD Program in a two-year period and
that over 500 individuals receive services pursuant to the MF/TD Program, the Court finds that the class
is sufficiently numerous that joinder would be impracticable.

B. Commonality
Acommon nucleus of operative fact is usually sufficient to satisfy the commonality requirement

of Rule 23(a)(2). Keele v. Wexler, 149 F.3d 589, 594 (7th Cir. 1998). Where a defendant has engaged

2 The Defendantsuggests that it has been “unable to locate” this document in the
Plaintiffs’ filings. The Defendant also implies that the affidavit is not sufficiently precise. These
arguments are curious, given that in their brief the Plaintiffs cite Jones v. Maram, 373 Ill. App. 3d
184 (Ill. pp. Ct. 2007) as the source of the affidavit. Defendant submitted the affidavit in Jones in
support of its arguments in that case. Having relied on the affidavit in prior litigation,
Defendant’s attempt to call into question both the existence of and the precision of the affidavit is
insincere, at best. Defendant does itself no favors in disavowing or impugning such evidence.

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in standardized conduct towards members of the proposed class that standardized conduct is sufficient
to provide a common nucleus of operative fact. Jd. Here, Defendant’s conduct in limiting participation
in the MF/TD Program to individuals under the age of 21 and requiring individuals receiving services
under the MF/TD Program to apply for benefits under the HSP when they turn 21 constitutes a
“common nucleus of operative fact.” The Defendant makes no determination ofan individual’s medical
needs when it finds that an individual is no longer eligible to receive services under the MF/TD Program
and instead makes that determination based solely on the fact that the individual has reached the age of
21. The named Plaintiffs may have different medical needs and require different HCB services, but
these individual differences are not sufficient to bar class certification. Although the effect of DHFS’s
conduct on each class member may differ, the allegation that its discriminatory policy or practice affects
the class as a hole is sufficient to demonstrate commonality. See Rosario v. Livaditis, 963 F.2d 1013,
1017 (7th Cir. 1992). The Plaintiffs’ alleged injuries flow from the same discriminatory act —
Defendant’s limitation of participation in the MF/TD Program to individuals under the age of 21.

The Defendant argues that a threshold statutory issue — whether the prospective class members
are qualified individuals within the meaning of the ADA and Rehabilitation Act — poses individualized
questions that require individualized fact-finding. In support, DHFS relies primarily on the Third
Circuit’s holding in Hohider v. United Parcel Serv., Inc., 574 F.3d 169 (3rd Cir. 2009). Hohider
reasons that because the statutory language of the ADA limits the protection of the statute to “qualified
individuals” that a court must ensure that class members are in fact qualified prior to a classwide
determination that the defendant engaged in discriminatory conduct.

Defendant’s argument is a red herring. The Defendant is correct that the ADA prohibits

discrimination only against qualified individuals with disabilities. Putting aside the question of whether

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Hohider’s reasoning is persuasive, the Court is not convinced that even if the court were to conduct an
individualized inquiry into whether class members were qualified individuals that such an inquiry would
“negate the very benefits Rule 23" confers. Def. Resp. at 133

The statute defines qualified individuals as disabled individuals who “with or without reasonable
modifications to rules, policies, or practices . . . mee[t] the essential eligibility requirements for the
receipt of services or the participation in programs or activities provided by a public entity.” 42 U.S.C.
§ 12131(2). The proposed class definition, however, includes only persons who are receiving or have
or will receive services under the MF/TD Program. In that sense, the prospective class members’ receipt
of services under the MF/TD Program demonstrates that he or she meets the essential eligibility
requirements for the receipt of services or participation in the MF/TD Program because to participate
in the MF/TD Program the Defendant must determine that recipients would require the level of care
provided by a hospital or skilled nursing facility unless they received HCB services. See Radaszewski
v. Maram, 383 F.3d 599, 612-613 (7th Cir. 2004) (discussing whether similar disabled individual was
a “qualified individual”). Because the Defendant has already made a threshold determination that the
prospective class members are qualified to receive services under the ME/TD Program and because the
Defendant’s decision to exclude the prospective class members from that Program is based not on a
change in their medical condition but on a change in their age, the Court concludes that any inquiry into

whether the class members are “qualified individuals” is likely to be minimally taxing.

3 In this vein, much of Defendant’s argument seems to suggest that it argues that although
there are common issues, they do not predominate. Indeed, Defendant earlier argues that
“claiming that an issue predominates does not make it so.” Def. Resp. at 13. Of course, whether
the common issues predominate over individualized issues is a question for plaintiffs who seek
certification under Fed. R. Civ. P. 23(b)(3) and not those who seek certification under 23(b)(2).

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Common questions — for example, whether Defendant’s policy of transitioning individuals from
the MF/TD Program to the HSP and thereby reducing their medicaid benefits violates the ADA, or
whether requiring the Defendant to allow individuals in the MF/TD to continue to receive the same level
of benefits after their 21st birthday that they received prior to their 21st birthday is a reasonable
accommodation — clearly exist. The Court therefore finds that there are common issues of law and fact.
C. Typicality

The question of typicality is closely related to the question of commonality. Rosario, 963 F.2d
at 1018. Typicality can be satisfied even where there are factual distinctions between the named
plaintiff's claim and the claims of other class members. Muro v. Target Corp., 580 F.3d 485, 492 (7th
Cir. 2009). The requirement directs the court to focus on whether the named representative’s claims
have the same essential characteristics as the claims of the class at large. Jd. A claim is typical “if it
arises from the same event or practice or course of conduct” that gives rise to the other class members’
claims. Retired Chicago Police Ass’n v. City of Chicago, 7 F.3d 584, 597 (7th Cir. 1993) (quoting H.
Newberg, CLASS ACTIONS § 1115(b) at 185 (1977)). Here, Hampe’s claims are typical of those of
the class — he receives HCB services under the MF/TD Program and when he turns 21, the DHFS will
boot him from that Program and transition him to the HSP, which in turn, will result in a reduction of
his funding for HCB services. The proposed class includes other individuals who will receive, are
receiving or have received services under the MF/TD Program who will be subject to a reduction in
Medicaid funding once they reach the age of 21. The Defendant raises the same red herring it raises in
response to the Plaintiffs’ argument on commonality, which remain unconvincing. The Court finds that
Hampe’s claims are typical of the claims of the proposed class.

D. Adequacy of Representation

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Courts make a two-part inquiry into the adequacy of representation for the purposes of class
certification. First, courts examine whether the class representative can fairly and adequately protect
the interests of the class. Second, courts ask whether counsel is able to prosecute the action. Retired
Chicago Police Ass'n, 7 F.3d at 598. A named representative cannot fairly and adequately protect the
interests of the class if he has interests antagonistic to that class or if he lacks a sufficient interest in the
outcome of the litigation. Jd.

Defendant raises an argument bordering on frivolous. Defendant suggests that because some
members of the prospective class lack standing, have moot claims, have time-barred claims, or are not
“qualified individuals” that Hampe’s interests are antagonistic to the class.* Even if the Court were to
accept the Defendant’s underlying premises (which as noted below it does not), it does not follow that
Hampe’s interests are antagonistic to prospective class members who lack standing or had mooted or
time-barred claims. Hampe’s injury arises from the same the same alleged violation of federal law as
the other proposed class members and he clearly has an interest in obtaining the injunctive relief.

Defendant makes no argument that counsel is not qualified to prosecute the interest of the class. The

4 Most of Defendant’s underlying premise is itself without merit. Defendant suggests that
some plaintiff's claims may be moot because they accepted funding under the HSP. But merely
because an individual has submitted to the allegedly discriminatory conduct does not undo that
discrimination. An employer who demoted an employee because of his race or gender could not
argue that the employee’s discrimination claim was “moot” because the employee accepted the
demotion rather than quit. Defendant also suggests that some plaintiffs lack standing because
their claims are not yet ripe because they are not nearing their 21st birthday. But that does not
make the injury abstract or hypothetical. Individuals in the MF/TD Program face an inexorable
march towards transition and exclusion from that Program. Defendants further suggest that some
prospective class members claims are time-barred because they have already aged out of the
MEF/TD Program. Because the prospective class members’ exclusion from the MF/TD Program is
ongoing, their claims would not be time-barred. Havens Realty Corp. v. Coleman, 455 US. 363,
380-81, 102 S.Ct. 1114, 71 L-Ed.2d 214 (1982).

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Court finds that Hampe is an adequate class representative and that counsel can adequately protect the
interests of the class.
E. Rule 23(b)(2)

Plaintiffs seek certification under Fed R. Civ. P. 23(b)(2), which requires that “plaintiffs ... need
merely show that defendants acted on grounds generally applicable to the class for which they seek
declaratory and injunctive relief.” Fed. R. Civ. P. 23(b)(2); Pella Corp. v. Saltzman, 606 F.3d 391, 392
(7th Cir. 2010). Although certification under Rule 23(b)(2) is not automatic merely because the
plaintiffs seek only declaratory and injunctive relief, it is an appropriate device to remedy a state policy
that treats the prospective class uniformly and presents common questions of law and fact. See,e.g.
Jefferson v. Ingersoll Int’l Inc., 195 F.3d 894, 897-99 (7th Cir. 1999) (discussing the use of Rule
23(b)(2) class actions to prosecute Title VII claims before Title VII allowed compensatory and punitive
damages); Bishop v. Gainer, 272 F.3d 1009 (7th Cir. 2001) (involving 23(b)(2) class seeking declaratory
and injunctive relief concerning Illinois State Police hiring practices). Defendants make no real
argument that certification is not appropriate under Rule 23(b)(2), instead suggesting merely that it is
not automatic.

Here, the proposed class seeks only declaratory and injunctive relief concerning Defendant’s
policy of transitioning individuals receiving services in the MF/TD Program to the HSP when they reach
the age of 21. The Defendant’s conduct towards the entire proposed class is identical — individuals
age-out of the MF/TD Program regardless of their medical needs and instead based solely on their age.
Moreover, Defendant has refused to modify this policy and practice despite the fact that other individual
plaintiffs have successfully challenged the policy in five separate lawsuits. Certification of the proposed

class advances the Court’s interest in judicial economy because it avoids the strain of repetitive,

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identical lawsuits, thus economizing the expense of litigation over the common issue of whether
Defendant’s policy to transition individuals from the MF/TD Program to the HSP at the age of 21
violates the ADA and the Rehabilitation Act.

The Court finds that the proposed class satisfies the requirements of Rule 23(b)(2).
F. Adequacy of the Class Definition

Finally, Defendant raises arguments that the proposed class is vague and indefinite. The Court
has disposed of many of Defendant’s arguments in its analysis of the Rule 23 requirements, and need
not repeat that analysis. With regard to any remaining arguments, the Defendant raised similar
arguments in Colbert v. Blagojevich, No. 07 C 4737, 2008 WL 4442597, at **2-4 (N.D. Ill. Sep. 29,
2008). Colbert rejected those arguments, and the Court finds that reasoning persuasive and adopts it
here.

Accordingly, for the foregoing reasons, the Court GRANTS the Plaintiffs’ Motion to Certify a

Class and certifies a class as follows:

All persons who are enrolled or will be enrolled or were enrolled in the State of Illinois’
Medically Fragile, Technology Dependent Medicaid Waiver Program (MEF/TD) and when they
obtain the age of 21 years are subjected to reduced Medicaid funding which reduces the medical
level of care which they had been receiving prior to obtaining 21 years.

IT IS SO ORDERED.

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Dated Hon. WibigA J. Hibbler
U.S. District Court

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